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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


STATE OF UTAH, et al.,              )
                                    )
     Petitioners,                   )
                                    )
     v.                             )                No. 23-1102 (and
                                    )                consolidated cases)
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,          )
                                    )
     Respondents                    )
____________________________________)

   RESPONDENTS’ REPLY IN SUPPORT OF MOTION TO EXPEDITE
                     CONSIDERATION

      On May 15, 2023, Respondents EPA and Michael S. Regan, Administrator

(collectively, “EPA”), moved this Court to confirm its exclusive venue over these

consolidated petitions for review and for expedited consideration. ECF 1999261

(“Motion”). On May 30, 2023, the Court deferred immediate consideration of

EPA’s venue motion, and ordered Petitioners to respond to EPA’s expedition

request. ECF 2001226. Petitioners’ response, ECF 2003050, does not call into

doubt the unusual public interest in a speedy resolution of these cases. Instead,

Petitioners rehash their own faulty venue arguments and the reasons why they

believe this Court should not consider their petitions at all. That is, they assume

the conclusion by wrongly presupposing that this Court will grant their abeyance

motion. As EPA’s Motion explained, this Court has exclusive venue in these
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challenges. But more importantly for present purposes: even assuming venue

remains in doubt, the risk of harm to the public from delaying adjudication of that

issue and the merits is both significant and unusual. Accordingly, EPA’s request

for expedited consideration should be granted, if not also EPA’s motion for the

Court to confirm venue.

      To begin, Petitioners’ opposition to expedition improperly relies on their

conclusory assertion that their challenges to the Final Rule should be adjudicated

in the regional circuits, rather than routed to this Court under the Clean Air Act’s

venue provision. See 42 U.S.C. § 7607(b)(1); see also Mot. 10-16. Throughout

their response, Petitioners claim that EPA and the public do not need expedited

resolution of these D.C. Circuit petitions, or indeed any resolution at all, because

Petitioners wish to see their challenges adjudicated elsewhere. 1 See, e.g., Pet. Opp.

9-10 (suggesting that pending litigation in other circuits “is a reason for this Court”

to deny expedition and rehashing comity arguments that are inapplicable because

the Clean Air Act has a mandatory venue provision, see Resp. to Mot. to Abate

Appeal, ECF 2000888 at 4-5). But Petitioners’ ability to proceed with their




1
 As in their abeyance motion, Petitioners rely on their designation of these
petitions as “protective.” See Pet. Opp. at 1, 12. But this Court’s recent order
denying abeyance in Electric Energy, Inc. v. EPA, No. 23-1035, affirms that
petitioners are not categorically entitled to abeyance of petitions they have deemed
protective. See ECF 2002545 (order); ECF 1989214 (abeyance motion).

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challenges in the regional circuits is in dispute – not just in this Circuit but in six of

its sister circuits.

       Neither the Ninth nor Tenth Circuits, where Petitioners have filed their

additional petitions, has concluded that it has venue. Cf. Pet. Opp. 9-10. The

Fourth, Sixth, and Eleventh Circuits – the last of which raised the matter of its

“jurisdiction” sua sponte – also have yet to rule on the proper venue for these

challenges. See West Virginia v. EPA, No. 23-1418 (4th Cir.); Kentucky v. EPA,

No. 23-3216 et al. (6th Cir.); Alabama v. EPA, No. 23-11173 et al. (11th Cir.).

While a divided motions panel of the Fifth Circuit has ruled in favor of retaining

venue, that unpublished order was clear that it did not bind the merits panel. Texas

v. EPA, 5th Cir. No. 23-60069, ECF 269-1 at 6-13, 24 (May 1, 2023). Likewise,

the Eighth Circuit motion panel’s denial, without opinion, of EPA’s motion to

dismiss or transfer petitions, see Arkansas v. EPA, 8th Cir. No. 23-1320, ECF

5269098 (April 25, 2023) (denying transfer), ECF 5280996 (May 25, 2023)

(denying reconsideration), does not preclude reconsideration by a merits panel – as

petitioners there recognized. See ECF 5279050 at 6 (May 19, 2023); Nyffeler

Constr., Inc. v. Sec’y of Lab., 760 F.3d 837, 842 (8th Cir. 2014) (holding that a

merits panel is not bound by the law-of-the-case doctrine where an earlier

administrative panel did not explain its decision).




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      Concordantly, Petitioners are incorrect that “numerous Court of Appeals

decisions affirm[] venue is proper in the regional circuits.” Pet. Opp. 7. Their

citation for that proposition – a supra to pages 4-5 of their Opposition – refers only

to these preliminary proceedings in the regional circuits, which, as explained

above, have made no final decisions on the venue question, much less “numerous”

affirmations that venue is proper outside the D.C. Circuit. Given the decidedly

unsettled nature of the venue question here, Petitioners cannot reasonably assert

that the “procedural posture of these and related cases” should prevent expedited

(or any) adjudication of these petitions.

      Petitioners are likewise incorrect that the presence of “antecedent issues”

renders expedition “inappropriate.” Pet. Opp. 2. It is unclear what issues

Petitioners could be referring to beyond their request for abeyance, but their

abeyance motion cannot preclude expedition for the same reason: it presumes that

venue is inappropriate in this Circuit, which is a question that remains unsettled.

Moreover, Petitioner State of Nevada was not party to that abeyance request, so

even an order granting that request would not foreclose expedition of the

remaining litigation.

      In a notable admission, Petitioners suggest that they would favor

“expeditious resolution” of these petitions, so long as that resolution occurs in “the

other courts where briefing is already underway.” Pet. Opp. 8-9. They plainly do


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not actually oppose expedition of judicial review, only this Court’s consideration

of these petitions in the first place. As such, their opposition to expedition here

lacks credibility.

       In any case, Petitioners cannot reasonably deny that granting expedition

would serve strongly compelling interests. As EPA’s Motion explained,

expedition in this Court is necessary to mitigate the risk of divergent opinions in

the regional circuits, which will in turn protect significant and unusual state and

public interests in the equitable and consistent application of the Good Neighbor

Provision at a national scale. Mot. 17-24. Divergent opinions on the nature of

upwind states’ obligation to protect downwind states under that Provision –

depending only on the judicial circuit in which that upwind state is located – would

lead to differential treatment of both upwind and downwind states, in direct

contravention of the Provision’s goal of ensuring equitable air quality burdens

between states. Id. at 18-22. Divergent opinions on the legal and technical

standards governing the application of the Good Neighbor Provision would also

present substantial impediments to EPA’s administration of this Provision.

Assessing upwind contributions to downwind air quality problems requires a

comprehensive understanding of how pollution is moving across country and of the

complex meteorological, topographical, and anthropogenic influences on that

pollution’s transformation into downwind ozone. Id. at 17-18. Performing that


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analysis differently in each circuit would be an enormous burden on the Agency,

one Congress could not have intended. These administrative burdens and inter-

state inequities would, in turn, affect downwind communities suffering from

increased mortality, poor health, environmental effects, and increased regulatory

burdens from elevated concentrations of ozone – concerns that are, without a

doubt, strongly compelling. 2 See Wisconsin v. EPA, 938 F.3d at 313-20.

      Petitioners’ filing strategy has created the risk of such divergent opinions,

and no single Court is in a position to undo the chaos they have introduced (not

least, the need for immediate EPA rulemaking to adjust its multi-state federal Good

Neighbor trading program in response to state-specific judicial stays of the Final

Rule). 3 But expedition of these petitions would mitigate that risk by ensuring, at




2
  Petitioners say EPA lacks “irreparable injury,” Pet. Opp. at 8, but as the
Respondent, EPA sought expedition not on the basis of irreparable injury but
because the “public generally” and “persons not before the Court” have an unusual
interest in expedited resolution. See Mot. In any event, Petitioners’ assertion that
EPA has no injury because the Final Rule was overdue, and because EPA has not
sought expedition in other circuits, is misplaced. The Final Rule was delayed in
part by EPA’s need to address Good Neighbor obligations for the 2008 ozone
standards following this Court’s remand in Wisconsin. See 88 Fed. Reg. 9336,
9365 (Feb. 13, 2023). And Petitioners cannot simultaneously claim that challenges
in the various circuits are distinct for purposes of venue but related for purposes of
scheduling. Moreover, briefing in each circuit depends on case-specific factors,
including the need for stay briefing, the circuit’s case management practices, and
the schedules of counsel.
3
  See https://www.epa.gov/csapr/notice-forthcoming-epa-action-address-judicial-
stay-orders (notice of EPA’s forthcoming action to stay federal plan Good
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least, that the regional circuits called upon to address these issues might have the

benefit of this Court’s unparalleled Clean Air Act expertise and longstanding

guidance in interpreting the Good Neighbor Provision when considering the proper

venue for, and perhaps merits of, these challenges.

      Petitioners dispute this premise, claiming that EPA’s request will not prevent

divergent opinions because the regional circuits may ultimately conclude that they

can properly resolve the challenges before them, making a ruling in this Court

contradictory. See Pet. Opp. 10-11. But this argument fails in several respects.

First, as noted above, no court has concluded that these petitions are properly in the

regional, rather than D.C., circuits, so the suggestion that the Ninth and Tenth

Circuits will find themselves at odds with this Circuit is speculative.

      Second, the United States’ requests in this Court do not presuppose an

outcome; this Court might ultimately agree with the regional circuits on venue or

the merits, just as the regional circuits might ultimately agree with this Court. But

no matter the outcome, Petitioners do not and cannot dispute that those circuits

would recognize that the D.C. Circuit is uniquely positioned to weigh in on these

matters: the Court is, unquestionably, exceptionally well-versed in both the Clean

Air Act and the Good Neighbor Provision. See, e.g., Texas v. EPA, No. 10-60961,



Neighbor obligations for states whose state plan disapprovals under the Final Rule
have been stayed).

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2011 WL 710598, at *4 (5th Cir. Feb. 24, 2011) (finding “clear congressional

intent” that the Clean Air Act venue provision was intended to “take advantage of”

the D.C. Circuit’s “administrative law expertise” (citing legislative history)); 41

Fed. Reg. 56767, 56769 (Dec. 30, 1976) (recommendation of the Administrative

Conference of the United States that “centraliz[ing] review of ‘national’ [state

plan] issues in the D.C. Circuit” accords with the Court’s “obvious expertise in

administrative law matters” and the “very complex” Clean Air Act). And the

Court has sole authority under the Clean Air Act to review nationally applicable

actions (like EPA’s Final Rule), see 42 U.S.C. § 7607(b)(1), making its view and

voice in this matter distinct from other circuits.

      Moreover, these challenges present matters of unique concern to this Court –

the interpretation of its exclusive venue under Section 7607(b)(1) but also several

merits issues where the parties’ disputes concern aspects of this Court’s prior

precedents, including timing questions recently addressed in Wisconsin v. EPA,

938 F.3d 303 (D.C. Cir. 2019), and Maryland v. EPA, 958 F.3d 1185 (D.C. Cir.

2020), among others. 4 See, e.g., 88 Fed. Reg. at 9361-62 (noting that under



4
 Notably, even in the context of EPA’s subsequent federal plan, petitioners are
attempting to secure review in the regional circuits rather than this Court,
notwithstanding that exclusive D.C. Circuit review of EPA’s federal Good
Neighbor plans is well-established and has resulted in a significant body of
precedent. See Tulsa Cement LLC v. EPA, No. 23-9551 (10th Cir.); Nevada
Cement Co. LLC v. EPA, No. 23-1115 (9th Cir.); Texas, et al. v. EPA, No. 23-
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Wisconsin, EPA was obligated to “structure its actions so as to ensure necessary

reductions are achieved by the downwind attainment date”). The possibility that

this Court may disagree with some of its sister circuits is not, therefore, adequate

reason to delay consideration here. Not only is such conflict not inevitable, but

allowing the D.C. Circuit to weigh in on issues within its special expertise is more

likely to harmonize outcomes across the circuits than if this Court stays silent.

      Third, suggesting that any circuit splits on venue would best be resolved by

denying expedition until after Supreme Court review, Pet. Opp. 11, has it

backwards. If the issues in this case will ultimately require Supreme Court

resolution, it would be most protective of the public interest and the interests of

downwind and other upwind states to ensure that those disputes are presented to

the Supreme Court quickly and comprehensively, not after an extended delay to

allow Ninth and Tenth Circuit review that only belatedly reaches the D.C. Circuit.

      Indeed, Petitioners paradoxically suggest that expedition is unwarranted here

because it would not be fast enough. Pet. Opp. 10 (noting that other circuits are

“poised” to rule “before this Court would be able to do so”). As a practical matter,

it is not evident that Petitioners are correct. The United States’ motion on venue is

still pending here, so this Court will have an opportunity to rule on venue, if it



60300 (5th Cir.); see also, e.g., Midwest Ozone Grp. v. EPA, 61 F.4th 187 (D.C.
Cir. 2023).

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wishes, before the Tenth Circuit (which has deferred the issue to the merits panel)

and possibly before the Ninth Circuit as well (where the issue is pending before a

motions panel). And the timing of merits disposition in the various circuits is

unknown. The United States has requested argument in this Court by the end of

the year; it is entirely plausible that this Court’s ruling could occur in time with or

before other circuits.

      In any event, the possibility that expedition in this Court may not entirely

protect against divergent opinions is not a reason to abandon the best remaining

pathway to effectuate Congressional intent concerning unified D.C. Circuit review,

prevent inequities between states, ensure equal benefits for downwind

communities affected by dirty air, and forestall needless circuit splits. This is

especially true where many petitioners have sought stays of the Final Rule in their

circuits of choice and some of those stays have been granted; prolonging litigation

here only serves to extend the period in which downwind states and their citizens

are without the protections promised by the Good Neighbor Provision under

suitably protective state or federal Good Neighbor plans.

      Together, these facts comprise strongly compelling and unusual public

interests in this case, sufficient to justify this Court’s expedited consideration.

Contrary to Petitioners’ suggestion, this is plainly not a run-of-the-mill venue

dispute. Pet. Opp. 7. It is a dispute that has both practical and equitable


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consequences for a program that has been critical to the attainment of previous

ozone air quality standards, for the numerous upwind and downwind states who are

not parties before the Court, and for millions of Americans living in areas with

poor air quality. Petitioners should not be rewarded for their efforts to advance

litigation more quickly in the regional circuits so as to preclude this Court from

ensuring a uniform interpretation and application of the Good Neighbor Provision.

And Respondents should not have to await Supreme Court review to try to restore

some semblance of order to the chaos these and other petitioners have engendered

in the application of the Good Neighbor Provision. Expedition in this Court may

yet prevent the worst of these outcomes, so the United States’ motion to expedite

consideration should be granted.

                                   CONCLUSION

      For the reasons described above and in Respondent’s Motion, the United

States respectfully requests that this Court order the parties to file briefing

proposals no later than 7 days after the Court’s order that will allow for argument

by the end of 2023, consistent with Section X.D. of the Court’s Handbook of

Practice and Internal Procedures. 5


5
  If additional petitions are transferred from the regional circuits after this Court
issues a briefing schedule, the United States proposes that motions to govern be
due within 7 days of consolidation addressing whether and how such petitions
should be added to the existing schedule.

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DATED: June 16, 2023                       Respectfully submitted,

                                           TODD KIM
                                           Assistant Attorney General

                                           /s/ Chloe H. Kolman
                                           CHLOE H. KOLMAN
                                           ALEXANDRA L. ST. ROMAIN
                                           JIN HYUNG LEE
                                           U.S. Department of Justice
                                           Environmental Defense Section
                                           P.O. Box 7611
                                           Washington, D.C. 20044
                                           (202) 514-9277
Of Counsel:                                chloe.kolman@usdoj.gov

DANIEL P. SCHRAMM
ROSEMARY HAMBRIGHT KABAN
JEANHEE HONG
United States Environmental Protection Agency
1200 Pennsylvania Ave., NW
Washington, D.C. 20460




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion complies with the requirements of Fed. R.
App. P. 32(a)(5) and (6) because it has been prepared in 14-point Times New
Roman, a proportionally spaced font.

       I further certify pursuant to Fed. R. App. P. 32(f) and (g) that this motion
contains 2,586 words, excluding exempted portions, according to the count of
Microsoft Word, and that this motion complies with the type-volume limitation set
forth in Fed. R. App. P. 27(d)(2)(A).

                                             /s/ Chloe H. Kolman
                                             CHLOE H. KOLMAN


                         CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of June, 2023, the foregoing Reply was
electronically filed with the Clerk of the Court using the CM/ECF system, which
will cause of copy of this Motion to be served upon all attorneys of record in this
matter.

                                             /s/ Chloe H. Kolman
                                             CHLOE H. KOLMAN
